             Case 1:20-cr-01428-SCY Document 5 Filed 06/25/20 Page 1 of 2




                             IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,                        )
                                                 )
                Plaintiff,                       )       CRIMINAL NO. 20-1428 MV
                                                 )
       vs.                                       )
                                                 )
RUTH GRANDE OLGUIN,                              )
                                                 )
                Defendant.                       )
                                                 )
                                                 )


                                  NOTICE OF RELATED CASE

       The United States, by and through undersigned counsel, informs the Court that the

subject matter in the above-captioned case relates to the following case:

            United States v. Amado Martin Vargas Hernandez, CR 20-1443 MV

       The United States hereby represents that the theories of prosecution, facts, evidence,

defendants, and witnesses in the two cases are common to one another. The United States,

therefore, respectfully requests that the above-referenced case be assigned, for purposes of

judicial economy, to the same United States District Court judge, the Honorable Martha

Vázquez.

                                                     Respectfully submitted,

                                                     JOHN C. ANDERSON
                                                     United States Attorney

                                                     Electronically filed on 6/25/2020
                                                     NOVALINE D. WILSON
                                                     Assistant United States Attorney
                                                     Post Office Box 607
                                                     Albuquerque, New Mexico 87102
                                                     (505) 346-7274
         Case 1:20-cr-01428-SCY Document 5 Filed 06/25/20 Page 2 of 2




I HEREBY CERTIFY that I electronically filed
the foregoing with the Clerk of the Court using
the CM/ECF system which will cause a copy of
this filing to be sent to counsel for Defendant.

 /s/                   ____________
NOVALINE D. WILSON, AUSA




                                               2
